Case 1:22-cv-20670-BB Document 13 Entered on FLSD Docket 03/24/2022 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         Case No. 22-cv-20670-BLOOM/OTAZO-REYES


 JEFFERSON CELADA LISCANO,

                 Plaintiff,

 v.

 ARIES BLINDS INC., et al.,

                 Defendants.
                                              /


                   ORDER SCHEDULING SETTLEMENT CONFERENCE

         THIS MATTER is before the Court pursuant to the Court’s Order Referring Case for

 Settlement Conference, issued by the Honorable Beth Bloom [D.E. 6]. As a result of the District

 Court’s order of referral, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. A settlement conference in this matter is scheduled before the undersigned for 10:30
            A.M. on Friday, June 3, 2022 to be conducted at the C. Clyde Atkins United States
            Courthouse, 301 N. Miami Avenue, 10th Floor, Miami, Florida, 33128. ANY PARTY
            WHO DOES NOT SPEAK ENGLISH MUST BRING A PROFESSIONAL
            INTERPRETER TO THE SETTLEMENT CONFERENCE.

         2. The settlement conference shall be attended by all parties, corporate
            representatives, and their counsel of record. All persons named as individual
            parties shall be present and each entity shall have a party representative(s)
            present with full authority to bind the party up to and including the full amount
            claimed as damages plus any applicable attorney=s fees and costs.

         3. Each Party must submit a confidential brief containing a written summary of the
            case and identifying issues to be resolved. The parties must submit this brief to the
            undersigned no later than five days prior to the settlement conference date. Unless
            otherwise ordered by the court, the brief must not exceed five pages. The parties must
            email the brief directly to the undersigned at Otazo-Reyes@flsd.uscourts.gov.

         4. In the event that a monetary settlement would be payable from proceeds of an
Case 1:22-cv-20670-BB Document 13 Entered on FLSD Docket 03/24/2022 Page 2 of 2




          insurance policy, a claims professional/representative(s) from the party=s insurer
          with full and final authority to authorize payment to settle the matter up to the
          full limits of the party=s policy(s), shall be present. Failure of a party
          representative with full and final authority to make and accept offers of settlement
          to attend this conference may result in the undersigned=s sua sponte
          recommendation to the District Judge that sanctions be entered against the
          offending party.

       5. The Settlement Conference shall be conducted via Zoom video conference. Video
          conference instructions will be provided to counsel via e-mail. Counsel shall
          disseminate the instructions to their clients.

       6. The conference will not be continued absent extremely compelling circumstances. Any
          motion for continuance shall provide dates and times that are available for all
          parties.

       7. The parties shall take note that in civil actions the Court does not provide an interpreter
          for parties who do not speak English. In the event that a party requires an interpreter,
          it shall be that party=s burden to provide one.

       8. The conference shall be conducted without a court reporter and will not be tape
          recorded. All representations and statements made at the conference shall remain
          confidential.

       9. In the event this matter settles prior to the conference, the parties shall immediately
          advise the undersigned=s chambers.

       DONE AND ORDERED in Chambers at Miami, Florida this 24th day of March, 2022.


                                              ________________________________
                                              ALICIA M. OTAZO-REYES
                                              UNITED STATES MAGISTRATE JUDGE


 cc:   United States District Judge Beth Bloom
       Counsel of Record
